  Case 5:23-cr-50027-TLB Document 20               Filed 07/17/23 Page 1 of 3 PageID #: 50




                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                                PLAINTIFF

VS.                                  CASE NO. 23-50027-001

CHELSEA MARIE DRAY                                                                    DEFENDANT



              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting a

plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing was

conducted on July 14, 2023, and, pursuant to a written plea agreement, the Defendant, Chelsea Maria

Dray, entered a plea of guilt to Count Two of the Indictment, charging her with knowingly and

intentionally distributing a controlled substance, namely, a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

§ 841(a)(1) and § 841(b)(1)(C). The plea agreement provides that if the Court accepts the plea

agreement, once the Court has pronounced sentence, the United States will move to dismiss the

remaining counts against Defendant which are contained in the Indictment.

         After conducting the hearing in the form and manner prescribed by Rule 11, the undersigned

finds:

         1.     The Defendant, after consultation with her counsel, has knowingly and voluntarily

consented, both in writing in the plea agreement and on the record at the hearing, to the entry of her

guilty plea before the undersigned, with Defendant’s plea of guilt subject to final approval by United

                                                  1
  Case 5:23-cr-50027-TLB Document 20                 Filed 07/17/23 Page 2 of 3 PageID #: 51




States District Judge Timothy L. Brooks.

        2.      The Defendant and the Government have entered into a written plea agreement which

has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed that the

plea agreement be filed. (ECF No. 18).

        3.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

consequences of the plea; the Defendant is fully satisfied with her counsel and has had sufficient

time to consult with counsel; and the plea of guilty is a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offenses.

        4.      The Defendant understands her constitutional and statutory rights and wishes to waive

these rights.

        5.      The parties were informed, both in writing in the plea agreement and on the record

at the hearing, of their right to file written objections within fourteen (14) days after receipt of this

Report and Recommendation. To expedite acceptance of the guilty plea, the parties waived, both

on the record and in writing in the plea agreement, their right to file objections.

        6.      Based on the foregoing, the undersigned recommends that Defendant’s the guilty plea

be accepted. The written plea agreement will be subject to approval by the District Judge at

sentencing.

        7.      The Defendant has been on pre-trial release on bond and conditions; however, 18

U.S.C. § 3143(a) requires detention and therefore, the Court directs Defendant to self-report to the

Washington County Detention Center on Monday, July 17, 2023 at 3:00pm CST to begin detention

on her conviction in this matter.


                                                   2
Case 5:23-cr-50027-TLB Document 20         Filed 07/17/23 Page 3 of 3 PageID #: 52




    DATED this 17th day of July 2023.



                                        __________________________________
                                        CHRISTY COMSTOCK
                                        UNITED STATES MAGISTRATE JUDGE




                                          3
